Case 1:17-cv-02374-RRM-ST Document 96-7 Filed 01/11/21 Page 1 of 4 PageID #: 879



                                                     STEVEN A. METCALF II, ESQ., Managing Attorney
                                                   NANETTE IDA METCALF, ESQ., Managing Attorney**
                                                        MARTIN TANKLEFF, ESQ., Associate Attorney
                                                        CHRISTOPHER DARDEN, ESQ., Special Counsel*
                                                                JOSEPH D.MCBRIDE, ESQ., of Counsel
                                                                    MARC HOWARD, ESQ. of Counsel




            EXHIBIT D
                            Metcalf & Metcalf, P.C.
                                 99 Park Avenue, 25th Floor
                                   New York, NY 10016
                                    646.253.0514 (Phone)
                                     646.219.2012 (Fax)
Case
 Case1:17-cv-02374-RRM-ST
      1:17-cv-02374-RRM-ST Document
                            Document96-7
                                     89 Filed
                                         Filed07/27/20
                                               01/11/21 Page
                                                         Page12ofof14PageID
                                                                      PageID#:#:823
                                                                                 880




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 Capital 7 Funding,
                                                                      Docket No. 17-cv-2374(RRM)(ST)
                           Plaintiff

                       - against -                                    Certificate of Default
  Wingfield Capital Corporation, Prestige Investment
  Associates, Inc., d/b/a Prestige Investments USA,
  and First Choice Payment Systems, Inc., d/b/a 1st
  Choice Payments
                       Corporate Defendants

         And

  Burgis Sethna, a/k/a Seth Burgess, Heath
  Wagenheim, Joseph Rabito, Damian Laljie a/k/a
  Damian Laltie, and John Does 1 through 15,
                      Individual Defendants

 -----------------------------------------------------------------X

 I, Douglas Palmer, Clerk of the Court of the United States District Court for the Eastern
 District of New York, do hereby certify that Defendant Heath Wagenheim has not filed an
 answer or otherwise moved with respect to the above-captioned action as fully appears from the
 court file herein, The default of Defendant Heath Wagenheim is hereby noted pursuant to Rule
 55(a) of the Federal Rules of Civil Procedure.



 Dated: Brooklyn, New York

       July 27
  ________________, 2020
                                                                                DOUGLAS C. PALMER
                                                                                         Clerk of Court
                                                                          By: _______________________
                                                                                          Deputy Clerk
Case
 Case1:17-cv-02374-RRM-ST
      1:17-cv-02374-RRM-ST Document
                            Document96-7
                                     90 Filed
                                         Filed07/27/20
                                               01/11/21 Page
                                                         Page13ofof14PageID
                                                                      PageID#:#:824
                                                                                 881




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 Capital 7 Funding,
                                                                      Docket No. 17-cv-2374(RRM)(ST)
                           Plaintiff

                       - against -                                    Certificate of Default
  Wingfield Capital Corporation, Prestige Investment
  Associates, Inc., d/b/a Prestige Investments USA,
  and First Choice Payment Systems, Inc., d/b/a 1st
  Choice Payments
                       Corporate Defendants

         And

  Burgis Sethna, a/k/a Seth Burgess, Heath
  Wagenheim, Joseph Rabito, Damian Laljie a/k/a
  Damian Laltie, and John Does 1 through 15,
                      Individual Defendants

 -----------------------------------------------------------------X

 I, Douglas Palmer, Clerk of the Court of the United States District Court for the Eastern
 District of New York, do hereby certify that Defendant Burgis Sentha a/k/a Seth Burgess has not
 filed an answer or otherwise moved with respect to the above-captioned action as fully appears
 from the court file herein and from the Declaration of Nicholas Bowers, annexed hereto. The
 default of Defendant Burgis Sentha a/k/a Seth Burgess is hereby noted pursuant to Rule 55(a) of
 the Federal Rules of Civil Procedure.



 Dated: Brooklyn, New York
 ________________,
          July 27    2020
                                                                                DOUGLAS C. PALMER
                                                                                         Clerk of Court
                                                                          By: _______________________
                                                                                          Deputy Clerk
Case
 Case1:17-cv-02374-RRM-ST
      1:17-cv-02374-RRM-ST Document
                            Document96-7
                                     93 Filed
                                         Filed07/27/20
                                               01/11/21 Page
                                                         Page14ofof14PageID
                                                                      PageID#:#:827
                                                                                 882




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 Capital 7 Funding,
                                                                      Docket No. 17-cv-2374
                           Plaintiff

                       - against -                                    Certificate of Default
  Wingfield Capital Corporation, Prestige Investment
  Associates, Inc., d/b/a Prestige Investments USA,
  and First Choice Payment Systems, Inc., d/b/a 1st
  Choice Payments
                       Corporate Defendants

         And

  Burgis Sethna, a/k/a Seth Burgess, Heath
  Wagenheim, Joseph Rabito, Damian Laljie a/k/a
  Damian Laltie, and John Does 1 through 15,
                      Individual Defendants

 -----------------------------------------------------------------X

 I, Douglas Palmer, Clerk of the Court of the United States District Court for the Eastern
 District of New York, do hereby certify that Defendant Wingfield Capital Corporation has not
 filed an answer or otherwise moved with respect to the above-captioned action as fully appears
 from the court file herein and from the Declaration of Nicholas Bowers, annexed hereto. The
 default of Defendant Wingfield Capital Corporation is hereby noted pursuant to Rule 55(a) of the
 Federal Rules of Civil Procedure.



 Dated: Brooklyn, New York
            July 27 2020
 ________________,
                                                                                DOUGLAS C. PALMER
                                                                                         Clerk of Court
                                                                          By: _______________________
                                                                                          Deputy Clerk
